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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

Judge Robert W. Schroeder III

CYPRESS LAKE SOFTWARE, INC.                §
                                           §
V.                                         §      CIVIL NO. 6:17CV300
                                           §
ZTE (USA) INC.                             §


CYPRESS LAKE SOFTWARE, INC.                §
                                           §
V.                                         §      CIVIL NO. 6:17CV462
                                           §
HP INC.                                    §

______________________________________________________________________________
                       MINUTES FOR MOTIONS HEARING
                HELD BEFORE JUDGE ROBERT W. SCHROEDER III
                                MARCH 28, 2018

OPEN: 1:22 pm                                             ADJOURN: 3:17 pm
______________________________________________________________________________
ATTORNEY FOR PLAINTIFF:        See Attorney Sign In Sheet

ATTORNEYS FOR DEFENDANTS: See Attorney Sign In Sheet

LAW CLERK:                           Barira Munshi

COURTROOM DEPUTY:                    Betty Schroeder

COURT REPORTER:                Kelly Polvi
______________________________________________________________________________
______________________________________________________________________________

1:22 pm       Case called, parties introduced and announced ready, Court welcomes parties

1:24 pm       Ms. Krista Schwartz argues HP’s Motion to Transfer (dkt. #16)

1:27 pm       Court questions Ms. Schwartz; Ms. Schwartz responds

1:29 pm       Court questions Ms. Schwartz; Ms. Schwartz responds
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1:37 pm    Court questions Ms. Schwartz; Ms. Schwartz responds

1:38 pm    Mr. Randall Garteiser responds to argument

1:58 pm    Court questions Mr. Garteiser; Mr. Garteiser responds

2:00 pm    Mr. Mike Jones replies

2:01 pm    Ms. Schwartz replies

2:07 pm    Mr. Garteiser responds

2:11 pm    Ms. Schwartz comments

2:11 pm    Mr. Garteiser continues

2:11 pm    Court questions Mr. Garteiser; Mr. Garteiser responds

2:13 pm    Ms. Schwartz argues HP’s Motion to Compel (dkt. #42)

2:22 pm    Court questions Ms. Schwartz; Ms. Schwartz responds

2:27 pm    Ms. Keana Taylor advises the Court ZTE (USA) joins in this motion

2:29 pm    Mr. Garteiser responds to arguments

2:30 pm    Ms. Schwartz comments

2:31 pm    Mr. Garteiser continues

2:39 pm    Court questions Mr. Garteiser; Mr. Garteiser responds

2:42 pm    Ms. Schwartz replies

2:42 pm    Court questions Ms. Schwartz; Ms. Schwartz responds

2:45 pm    Court directs the Plaintiff to within seven days identify any section it believes
           contains competitive information to defendant; defendant to object or agree within
           seven days; after that provide the Court with a status update within seven days

2:47 pm    Recess

2:56 pm    Mr. Jones asks the Court for permission for Ms. Schwartz and himself to be
           excused; Court grants them leave
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2:58 pm    Mr. Craig Uhrich argues ZTE (USA) Inc.’s Motion to Dismiss (dkt. #10)

3:00 pm    Court questions Mr. Uhrich; Mr. Uhrich responds

3:04 pm    Court questions Mr. Uhrich; Mr. Uhrich responds

3:08 pm    Mr. Garteiser responds to argument

3:11 pm    Court questions Mr. Garteiser; Mr. Garteiser responds

3:15 pm    Mr. Uhrich replies

3:16 pm    Court questions Mr. Uhrich; Mr. Uhrich responds

3:17 pm    Court suggests the parties to meet and come to an agreement regarding staying the
           case or not pending a decision from the Federal Circuit

3:17 pm    Recess
